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                           IN THE UNITED STATES DISTRICT COURT FOR
                               THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


   OSAMA ABU IRSHAID, et al.,
                PlaintiffS,
                                                        No. 1:24-cv-01405-MSN-WBP
            v.

   PAMELA BONDI, et al.,
               Defendants.



                                                ORDER

            This matter comes before the Court on Plaintiffs’ Motion for an Extension of Time to file

  an opposition to Defendants’ Motion for Reconsideration (ECF 38). Upon good cause shown, it is

  hereby

            ORDERED that Plaintiffs’ Motion for an Extension (ECF 38) is GRANTED; and it is

  further

            ORDERED that Plaintiffs shall file any opposition to Defendants’ Motion for

  Reconsideration on or before April 24, 2025.

            It is SO ORDERED.



                                                                              /s/
                                                        Hon. Michael S. Nachmanoff
                                                        United States District Judge

  April 8, 2025
  Alexandria, Virginia
